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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                         )
PRESIDENT, INC                              )
                 Plaintiff,                 )
                                            )
              v.                            )       Civil Action No. 2:20-CV-966
                                            )
BOOCKVAR, C.A.,                             )
                                            )
                     Defendant.             )


                                NOTICE OF APPEARANCE

TO:   Clerk, U.S. District Court for the Western District of Pennsylvania,

    Kindly enter my appearance as counsel on behalf of the Defendant, ALLEGHENY
COUNTY BOARD OF ELECTIONS, in the above case.

                                            Respectfully submitted,


                                                    /s/ Andrew F. Szefi
                                                   ANDREW F. SZEFI
                                                   County Solicitor
                                                   Pa. I.D. No. 83747
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